                                                              United States Bankruptcy Court
                                                                Northern District of Ohio
In re:                                                                                                                 Case No. 17-12989-aih
Darnell L. Pinkney                                                                                                     Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0647-1                                                  User: tpaol                                                                 Page 1 of 2
Date Rcvd: Jul 22, 2022                                               Form ID: pdf849                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 24, 2022:
NONE
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion09.cl.ecf@usdoj.gov
                                                                                        Jul 22 2022 20:51:00      Cynthia J. Thayer, US Department of Justice, 201
                                                                                                                  Superior Avenue, Suite 441, Cleveland, OH
                                                                                                                  44114-1234

TOTAL: 1


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 24, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 22, 2022 at the address(es) listed below:
Name                               Email Address
D. Anthony Sottile
                                   on behalf of Creditor Bridgecrest Credit Company LLC bankruptcy@sottileandbarile.com

Richard A. Baumgart
                                   on behalf of Plaintiff Richard Baumgart rbaumgart@dsb-law.com

Richard A. Baumgart
                                   on behalf of Trustee Richard A. Baumgart rbaumgart@dsb-law.com

Richard A. Baumgart
                                   baumgart_trustee@dsb-law.com rbaumgart@ecf.axosfs.com

Walter V. Landow
                                   on behalf of Debtor Darnell L. Pinkney landowlaw@att.net wlandow24@yahoo.com




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District/off: 0647-1                        User: tpaol                               Page 2 of 2
Date Rcvd: Jul 22, 2022                     Form ID: pdf849                          Total Noticed: 1
TOTAL: 5




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 The court incorporates by reference in this paragraph and adopts as the findings and orders of this court
 the document set forth below. This document was signed electronically on July 19, 2022, which may be
 different from its entry on the record.




 IT IS SO ORDERED.

 Dated: July 19, 2022




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